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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


  The United States of America,                    :
                                                   :
                   Plaintiff,                      :   CIVIL ACTION NO.         RDB-23-1999
          v.                                       :
                                                   :
  Carahsoft Technology Corp.,                      :
                                                   :
                   Defendant.                      :
                                                   :
                                                   :
                                                   :


                 ORDER TO SHOW CAUSE FOR SUMMARY ENFORCEMENT
                     OF CIVIL INVESTIGATIVE DEMAND NO. 22-498

        Upon the United States’ petition under 31 U.S.C. § 3733(j) for an Order to Show Cause

and for summary enforcement of Civil Investigative Demand (CID) No. 22-498 issued to

respondent Carahsoft Technology Corp. (Carahsoft) and the papers submitted in connection with

that petition;

        IT IS HEREBY ORDERED that respondent Carahsoft show cause before this Court on

October 3, 2023, or as soon thereafter as counsel may be heard, why an order should not be

issued under 31 U.S.C. § 3733(j) directing Carahsoft to produce certain documents and

information within fourteen (14) days pursuant to CID No. 22-498 and to fully comply with the

CID within twenty (20) days of the issuance of such Order.

        IT IS FURTHER ORDERED that on or before the close of business on

September 12, 2023, the United States shall serve a copy of this Order, along with the declaration

and memorandum of law submitted by the United States, on Carahsoft by sending those papers

to Carahsoft’s counsel at Blank Rome, LLP, (i) by email and (ii) by certified mail or Federal

Express overnight delivery.
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